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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


    In re:                                                         Chapter 11

    USA GYMNASTICS,
                              1
                                                                   Case No. 18-9108-RLM-11

                              Debtor.


                   NOTICE OF FUTURE CLAIMANTS’ REPRESENTATIVE
                     FRED C. CARUSO’S STATEMENT FOR SERVICES
                  RENDERED AND EXPENSES INCURRED IN AUGUST 2019

         PLEASE TAKE NOTICE that on September 16, 2019, Fred C. Caruso, not individually,

but as Future Claimants’ Representative in this case, submitted his invoice for fees and expenses

incurred between August 1, 2019 and August 31, 2019 (the “Invoice”), in accordance with the

Order Granting Debtor’s Motion for Entry of Order Establishing Procedures for Interim

Compensation and Reimbursement of Professionals [Dkt. 187] (the “Interim Compensation

Order”).

         PLEASE TAKE FURTHER NOTICE that the Invoice, attached hereto as Exhibit A, seeks

compensation for $4,060.00 in fees and $0.00 in expenses.

         PLEASE TAKE FURTHER NOTICE that any objections to the Invoice must be filed

and served upon the undersigned counsel by October 1, 2019 at 4:00 p.m. (prevailing Eastern

Time) in accordance with the Interim Compensation Order.




1
 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s principal
office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.


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        PLEASE TAKE FURTHER NOTICE that, if no objection is timely filed, the Debtor shall

promptly pay 80% of the fees and 100% of the expenses identified in the Invoice, subject to final

approval by the Court at a future hearing.

 September 16, 2019                              Respectfully submitted,

                                                 FRED C. CARUSO, solely as Future
                                                 Claimants’ Representative


                                                 By:      /s/ Micah R. Krohn

                                                 Frances Gecker (admitted pro hac vice)
                                                 Micah R. Krohn (admitted pro hac vice)
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                                                 Counsel to Future Claimants’ Representative




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                                CERTIFICATE OF SERVICE

        I, Micah R. Krohn, an attorney, hereby certify that on September 16, 2019 a copy of the
foregoing Notice of Future Claimants’ Representive Fred C. Caruso’s Statement for Services
Rendered and Expenses Incurred in August 2019 was filed electronically. Notice of this filing will
be sent to the following parties through the Court’s Electronic Case Filing System. Parties may
access this filing through the Court’s system.

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       I further certify that on September 16, 2019, a copy of the foregoing Notice of Future
Claimants’ Representative Fred C. Caruso’s Statement for Services Rendered and Expenses
Incurred in August 2019 was served via electronic mail to the following:

        United States Olympic Committee: Chris McCleary at chrismccleary@usoc.org
        The Alexander, A Dolce Hotel and Wyndham Hotel Group LLC: Daniel M. Eliades at
        daniel.eliades@klgates.com and David S. Catuogno at david.catuogno@klgates.com

and by U.S. Mail to:

        USA Gymnastics
        130 E. Washington St., Ste. 700
        Indianapolis, IN 46204

                                                              /s/ Micah R. Krohn




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